                              UNITED STATES DISTRICT COURT                              AUG O5 2021
                             EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE                                  Clerk, U.S. District Court
                                                                                 Eastern District of Tennessee
  UNITED STATES OF AMERICA                            )                                  At Knoxville
                                                      )       No. 3:21-CR-05
  V.                                                  )
                                                      )       JUDGE V ARLAN
  STEPHEN R. JORDAN, a/k/a "ST,"                      )       U.S. Magistrate Judge Poplin
  MILAND. CLAYPOOL, a/k/a "Nephew,"                   )
  LENNOX L. ROPER, JR., a/k/a "Savage,"               )
  ERICA L. EDWARDS, a/k/a "E-money,"                  )
  JADA J. MCNAIR,                                     )
  ALEXANDER C. STEIDL,                                )
  JAMARB. MAJOR,                                      )
                                                      )
  KATIA U. YOUNG,                                     )
  DIONTAYD. MARTIN,                                   )
  DELLONE M. MARTIN,                                  )
  FREDERICK G. DAVIS, JR.                             )
                                                      )
  LATISHA R. GAL YON                                  )

                           SECOND SUPERSEDING INDICTMENT

                                           COUNT ONE

         The Grand Jury charges that, from on or about May 1, 2019, through on or about August

  5, 2021, within the Eastern District of Tennessee and elsewhere, the defendants, STEPHEN R.

  JORDAN, a/k/a "ST, and MILAND. CLAYPOOL, a/k/a "Nephew," LENNOX L. ROPER, JR.,

  a/k/a "Savage," ERICA L. EDWARDS, a/k/a "E-money," JADA J. MCNAIR, ALEXANDER C.

  STEIDL, JAMAR B. MAJOR,                                 , KATIA U. YOUNG, DIONTAYD.

  MARTIN, DELLONE M. MARTIN, FREDERICK G. DAVIS, JR.,                                   , and

  LATISHA R. GAL YON, and other persons known and unknown to the Grand Jury, did

 knowingly, intentionally, and without authority combine, conspire, confederate and agree with

  each other and with diverse others to distribute one kilogram or more of a mixture or substance

  containing a detectable amount of heroin, a Schedule I controlled substance, four hundred (400)

  grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-
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  phenylethyl)-4-piperidinyl] propanamide (fentanyl), a Schedule II controlled substance, and a

  quantity of cocaine, a Schedule II controlled substance, in violation of Title 21, United States

  Code, Sections 846, 84l(a)(l), 84l(b)(l)(A), and 84l(b)(l)(C).

        NOTICE OF ENHANCED PENALTY UNDER TITLE 21 U.S.C. § 841(b)(l)(A)

                            (Prior Conviction of Serious Violent Felony)

          Before committing the offense charged in Count One of this Second Superseding

  Indictment, the defendant, STEPHEN R. JORDAN, a/k/a "ST," had at least one final conviction

  for a serious violent felony, for which he served at least 12 months in custody and was released

  from custody no more than 15 years before the commencement of the offense charged in Count

  One. As a result, the defendant, STEPHEN R. JORDAN, a/k/a "ST," is subject to an enhanced

  penalty under Title 21, United States Code, Sections 84l(a)(l), 84l(b)(l)(A), and 851.

                                             COUNT TWO

         The Grand Jury further charges that, on or about November 23, 2020, within the Eastern

  District of Tennessee, the defendant, LENNOX L. ROPER, JR., did knowingly and unlawfully

  possess firearms in furtherance of a drug trafficking crime for which he may be prosecuted in a

  court of the United States, that is, conspiracy to distribute controlled substances, as set forth in

  Count One of this Superseding Indictment, in violation of Title 18, United States Code, Section

  924(c)(l)(A).

                                            COUNT THREE

         The Grand Jury further charges that, on or about March 18, 2021, in the Eastern District

  of Tennessee, the defendants, JAMAR B. MAJOR and                                    , aided and

  abetted by each other, did knowingly and intentionally possess with intent to distribute forty (40)

  grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-

  phenylethyl)-4-piperidinyl] propanamide (fentanyl), a Schedule II controlled substance, in

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  violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B), and Title 18,

  United States Code, Section 2.

                                           COUNT FOUR

         The Grand Jury further charges that, on or about July 22, 2021, in the Eastern District of

  Tennessee, the defendants, KATIA U. YOUNG, DIONTAY D. MARTIN, DELLONE M.

  MARTIN, and FREDERICK G. DAVIS, JR., aided and abetted by each other, did knowingly

  and intentionally possess with intent to distribute four hundred (400) grams or more of a mixture

  and substance containing a detectable amount ofN-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

  propanamide (fentanyl), a Schedule II controlled substance, in violation of Title 21, United

  States Code, Sections 841(a)(l) and 841(b)(l)(A), and Title 18, United States Code, Section 2.

                                             COUNT FIVE

         The Grand Jury fmiher charges that, on or about July 22, 2021, within the Eastern

  District of Tennessee, the defendants, KATIA U. YOUNG, DIONTAY D. MARTIN,

  DELLONE M. MARTIN, and FREDERICK G. DAVIS, JR., aided and abetted by each other,

  did knowingly and unlawfully possess firearms in furtherance of a drug trafficking crime for

  which he may be prosecuted in a court of the United States, that is, conspiracy to distribute

  controlled substances and possession with intent to distribute controlled substances, as set forth

  in Counts One and Four of this Second Superseding Indictment, in violation of Title 18, United

  States Code, Section 924(c)(l)(A) and 2.

                    DRUG TRAFFICKING FORFEITURE ALLEGATIONS

         The allegations contained in Counts One, Three and Four of this Second Superseding

 Indictment are hereby realleged and incorporated by reference for the purpose of alleging

 forfeitures pursuant to Title 21, United States Code, Section 853. Pursuant to Title 21, United

  States Code, Section 853, upon conviction of an offense in violation of Title 21, United States

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  Code, Sections 846 and/or 841, the defendants, STEPHEN R. JORDAN, a/k/a "ST," and

  MILAND. CLAYPOOL, a/k/a "Nephew," LENNOX L. ROPER, JR., a/k/a "Savage," ERICA

  L. EDWARDS, a/k/a "E-money," JADA J. MCNAIR, WILLIAM E. POWELL, ALEXANDER

  C. STEIDL, JAMAR B. MAJOR,                                   , KATIA U. YOUNG, DIONTAY D.

  MARTIN, DELLONE M. MARTIN, FREDERICK G. DAVIS, JR.,                                     , and

  LATISHA R. GAL YON, shall forfeit to the United States of America any property constituting,

  or derived from, any proceeds obtained, directly or indirectly, as a result of such offense and any

  property used, or intended to be used, in any manner or part, to commit, or to facilitate the

  commission of the offense, including but not limited to the following:

         U.S. currency

         $16,780.00 in U.S. currency seized from Lennox L. Roper, Jr. on November 23, 2020.

         $29,006.00 in U.S. currency seized from Katia Young, Diontay D. Martin, Dellone M.
         Martin, and Frederick G. Davis, Jr. on July 22, 2021.

         Money Judgment

         Proceeds the defendants, STEPHEN R. JORDAN, a/k/a "ST," and MILAND.
         CLAYPOOL, a/k/a "Nephew," LENNOX L. ROPER, JR., a/k/a "Savage," and KATIA
         U. YOUNG, personally obtained as a result of the violations of Title 21, United States
         Code, Sections 841 and/or 846.

         Pursuant to Title 21, United States Code, Section 853(p), the defendant shall forfeit

 substitute property, up to the value of the property subject to forfeiture, if by any act or omission

 of the defendant, the property, or any portion thereof:

         a. cannot be located upon the exercise of due diligence;

         b. has been transferred, sold to, or deposited with a third party;

         c. has been placed beyond the jurisdiction of the Court;

         d. has been substantially diminished in value; or

         e. has been commingled with other property that cannot be divided without difficulty.

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                           FIREARM FORFEITURE ALLEGATIONS

         The allegation contained in Counts Two and Five of this Second Superseding Indictment

  is hereby realleged and incorporated herein by reference for the purpose of alleging forfeiture

  pursuant to Title 18, United States Code, Section 924(d)(l) and Title 28, United States Code,

  Section 2461(c).

         Upon conviction of the offense in violation of Title 18, United States Code, Section

  924(c)(l)(A) as set forth in Count Two of this Second Superseding Indictment, the defendant,

  LENNOX L. ROPER, JR., shall forfeit to the United States pursuant to Title 18, United States

  Code, Section 924(d)(l) and Title 28, United States Code, Section 2461(c), any fiream1s and

  ammunition, including but not limited to the Glock 19 and Glock 32 handguns, and anmrnnition,

  seized from LENNOX L. ROPER, JR., a/k/a "Savage," which were involved in the commission

  of the offense.

         Upon conviction of the offense in violation of Title 18, United States Code, Section

  924(c)(l)(A) as set forth in Count Five of this Second Superseding Indictment, the defendants,

  KATIA U. YOUNG, DIONTAY D. MARTIN, DELLONE M. MARTIN, FREDERICK G.

 DAVIS, JR., shall forfeit to the United States pursuant to Title 18, United States Code, Section

  924(d)(l) and Title 28, United States Code, Section 2461(c), any firearms and anmrnnition,

 including but not limited to the Beretta 9mm handgun, Glock, Model 27, handgun, and FN 9mm

 handgun, and ammunition, seized from KATIA U. YOUNG, DIONTAYD. MARTIN,

 DELLONE M. MARTIN, FREDERICK G. DAVIS, JR., which were involved in the

  commission of the offense.

         Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

 United States Code, Section 2461(c), defendant shall forfeit substitute property, up to the value



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  of the property subject to forfeiture, if by any act or omission of the defendant, the property, or

  any portion thereof:

         a.      cannot be located upon the exercise of due diligence;

         b.      has been transfened or sold to, or deposited with, a third party;

         c.      has been placed beyond the jurisdiction of the court;

         d.      has been substantially diminished in value; or

         e.      has been commingled with other property which cannot be divided without

 difficulty.

                                                 A TRUE BILL:


                                                   SIGNATURE REDACTED
                                                        GRAND JURY FO.REPER{SON
 FRANCIS M. HAMIL TON III
 ACTING UNITED STATES ATTORNEY



 BRENT N. JONES
 Assistant United States Attorney




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